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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                FILED
                                                              for the                                              Jul 13 2021

                                                                                                                 SUSANY. SOONG
                                                 Northern District
                                               __________  DistrictofofCalifornia
                                                                        __________                          CLERK, U.S. DISTRICT COURT
                                                                                                         NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                  SAN FRANCISCO

                  United States of America                       )
                             v.                                  )
              JOSEPH ANDREW MOLLICK
                                                                 )       Case No.3:21-mj-71157 MAG
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                August 30, 2019               in the county of           San Francisco                     in the
     Northern          District of         California        , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. § 2252(a)(4)(B)                    Possession of Child Pornography




         This criminal complaint is based on these facts:
See attached Affidavit of Homeland Security Investigations Special Agent Nihad Custo




         ✔ Continued on the attached sheet.
         ’

                                                                                              /s/ Nihad Custo
                                                                                            Complainant’s signature
          Approved as to form_______________
                              /s/Kenneth Chambers
                                                                                            HSI SA Nihad Custo
                            AUSA Kenneth
                                   __________
                                           Chambers
                                                                                             Printed name and title

Sworn to before me by telephone.


Date:             07/13/2021
                                                                                               Judge’s signature

City and state:                  San Francisco, California                      Hon. Alex G. Tse, U.S. Magistrate Judge
                                                                                             Printed name and title
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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Nihad Custo, Special Agent of the United States Department of Homeland Security

(“DHS”), Immigration and Customs Enforcement (“ICE”), Homeland Security Investigations

(“HSI”), at the San Francisco International Airport (SFO) in San Francisco, California, being

duly sworn, depose and state as follows:

                                         INTRODUCTION

       1.      I make this affidavit in support of a Criminal Complaint and Arrest Warrant

charging Joseph Andrew Mollick (MOLLICK) with Possession of Child Pornography, in

violation of Title 18, United States Code (U.S.C.) § 2252(a)(4)(B).

       2.      Since approximately May 2020, I have been conducting an investigation of

MOLLICK. Due to my personal participation in this investigation, I am familiar with the facts

and circumstances of this case. My experience as an HSI Special Agent and my participation in

this investigation form the basis of the opinions and conclusions set forth below.

       3.      Because this affidavit is submitted for the limited purpose of this criminal

complaint, I have not included each and every fact known to me about this investigation. Rather,

I have set forth those facts that I believe are sufficient to establish probable cause that

MOLLICK committed the aforementioned offenses.

                                     AGENT BACKGROUND

       4.      I am a Special Agent of the United States Department of Homeland Security

(“DHS”), Immigration and Customs Enforcement (“ICE”), Homeland Security Investigations

(“HSI”) assigned to the office of the Resident Agent in Charge, San Francisco International

Airport (“SFO”), and have been employed by HSI since 2017. Prior to my employment with


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HSI, I was employed as a United States (U.S.) Customs and Border Protection Officer since

2012. I have completed Basic Inspector (Customs and Border Protection academy) training at the

Federal Law Enforcement Training Center in Brunswick, Georgia and the Criminal Investigator

Training Program at the Federal Law Enforcement Training Center in Brunswick, Georgia.

       5.      I am currently responsible for investigating violations of federal criminal statutes,

to include statutes related to child exploitation and child pornography. I have received training

in regard to investigating violations of Title 18, United States Code. This includes violations

pertaining to the production, distribution, receipt, and possession of child pornography. I have

participated in and led operations involving the production, receipt and possession of child

pornography. I have received training regarding child exploitation at the Federal Law

Enforcement Training Center in Brunswick, Georgia.

       6.      In the course of the investigation described herein, I have consulted with HSI

Special Agents who have investigated child pornography cases. These agents have experience in

investigating or inspecting and/or applying for and executing multiple search warrants involving

sexual exploitation of minors of the course of their careers.

       7.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and law enforcement

organizations. This affidavit is intended to show simply that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

                                      APPLICABLE STATUTES

       8.      Title 18, United States Code, Section 2252(a)(4)(B) prohibits any person from

knowingly possessing any visual depiction that has been mailed, or has been shipped or


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transported using any means or facility of interstate or foreign commerce or in or affecting

interstate or foreign commerce, or which has been produced using materials which have been

mailed or so shipped or transported, by any means including a computer if (i) the producing of

such visual depiction involves the use of a minor engaging in sexually explicit conduct; and (ii)

such visual depiction is of such conduct.

                            FACTS ESTABLISHING PROBABLE CAUSE

          9.       I have received, and reviewed documents created by Kik. Kik is a smartphone

messenger application that lets users connect with their friends and world around them through

chat. Users can send text, pictures, videos, and more with the Kik app via mobile messaging. Kik

is free to download and uses an existing Wi-Fi connection or data plan to send and receive

messages. While Kik is now owned by MediaLab, prior to October 2019, Kik was run by Kik

Interactive, Inc., located in Ontario, Canada. Kik documents indicate that on August 30, 2019 at

05:13:17 UTC, Kik user “buckminster1” uploaded an image depicting child pornography as

described herein using the IP address 67.174.240.2. These documents also indicate that the

“buckminster1” account contained the following subscriber information:

         a. First Name: Joe

         b. Last Name: M

         c. Email: jmspirit@xxxxxx.com 1

        10.       I have learned that Kik was alerted to the child pornography through use of

Microsoft’s PhotoDNA technology. According to the Kik materials, Kik uses PhotoDNA to



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 I, the affiant, know the true information of the email address. The email address is anonymized, as this is a public
document.

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automatically scan user-uploaded files in order to flag images that may depict suspected child

pornography and prevent such images from continuing to circulate through their application.

When PhotoDNA detects a suspected child pornography file, it creates a report and sends it to

the Kik Law Enforcement team. According to information provided by a Kik Law Enforcement

Response Team Lead, all suspected child pornography images and videos reported via a

PhotoDNA Report, as well as any related user communications, are visually reviewed by a

member of the Kik Law Enforcement Response team before a report is forwarded to law

enforcement authorities. As of August 2019, Kik trained employees comprising its Law

Enforcement Response team on the legal obligation to report apparent child pornography. The

team was trained on the Canadian statutory definition of child pornography and how to recognize

it on Kik products and services. Kik voluntarily made reports to law enforcement in accordance

with that training. After Kik discovered the suspected child pornography, Kik removed the

content from its communications system and closed the user’s account.

      11.      Kik provided copies of the suspected child pornography image that they located to

the Royal Canadian Mountain Police (RCMP) on or around August 30, 2019. On or around

September 05, 2019, RCMP forwarded the Kik materials to HSI. On May 12, 2020, I reviewed

the very same image that Kik had provided with the Kik Report sent to the RCMP. That image

had previously been located, isolated, searched and viewed by Kik personnel before they were

reported to the RCMP. I reviewed only the image previously located, isolated, searched and

viewed by Kik personnel and observed that the image is child pornography as defined by United

States Federal Law. Specifically, the image uploaded to Kik’s servers by “buckminster1” depicts

a prepubescent female wearing a red shirt being vaginally penetrated by the penis of an adult


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male wearing a grey shirt.

        12.        On August 13, 2020, I obtained a federal search warrant for the buckminster1

Kik account signed by Hon. Thomas S. Hixson, United States Magistrate Judge for the Northern

District of California. Information received from Kik showed that the username buckminster1

had an exchange with username rothfussprime_5kp on August 30, 2019 at 05:13:17. The IP

address for buckminster1 shown in the results was 67.174.240.2. That time and date was the

same as the information received initially from Kik when the user “buckminster1” uploaded the

image depicting child pornography.

        13.       A query of the American Registry for Internet Numbers (ARIN) online database

revealed that IP address 67.174.240.2, used on August 30, 2019 to upload the image depicting

child pornography, was registered to Comcast Cable. On February 5, 2020, an administrative

summons was issued to Comcast Cable in regard to the IP address. Comcast Cable provided

records on February 7, 2020 that indicated the identified the IP address 67.174.240.2 was

assigned to account holder Joseph MOLLICK, at a specific address 2 in Menlo Park, CA, at the

time that the IP address was used to upload the image through the “buckminster1” Kik account.

        14.       A Grand Jury Subpoena was served via email to Apple on July 21, 2020.

Information received from Apple for the email address jmspirit@xxxxxx.com, which was

associated with the buckminster1 Kik account, indicates that jmspirit@xxxxxx.com is a login

alias for the Apple ID jmspirit@xxx.com.

        15.          Additional information received from Apple indicates the following subscriber



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  I, the affiant, know the true information of the home address. The home address is not stated in full here, as this is
a public document.

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information for the jmspirit@xxx.com Apple ID: Joseph Mollick, at the same specific address in

Menlo Park, CA, home phone 1-650.XXX.X721. 3 This information matches the subscriber

information provided by Comcast Cable and Kik.

        16.      Additional information received from Apple indicates that iTunes and other Apple

account services were repeatedly accessed through IP address 67.174.240.2 around the time of

August 30, 2019, when the buckminster1 Kik account used the same IP address to upload the

image depicting child pornography. To conclude, based on the foregoing information, I believe

both the Kik account “buckminster1” and Apple ID jmspirit@xxx.com are controlled by

MOLLICK.

        17.      On February 9, 2021 I obtained a federal search and seizure warrant for

information associated with Apple ID jmspirit@xxx.com issued by the United States District

Court for the Northern District of California.

        18.      A federal search warrant for information associated with Apple ID

jmspirit@xxx.com was served to Apple via email on February 10, 2021. On or around February

24, 2021, Apple returned the encrypted results from the search warrant via email. On or around

February 25, 2021, I turned over the results to an HSI Computer Forensics Agent (CFA) for

extraction and the unzipping of the files. The CFA transferred the unzipped files to an external

hard drive on or around March 8, 2021 for review. On or around March 9, 2021, I started

performing an initial review of the material from the Apple search warrant results.

        19.      According to the results from Apple, the Apple ID is listed as



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 I, the affiant, know the true information of the telephone number. The telephone number is anonymized, as this is a
public document.

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jmspirit@xxx.com. The Login Alias is jmpspirit@xx.com and jmspirit@xxxxxx.com. The

name listed for the account is Joseph MOLLICK. The Apple ID account was created on

November 20, 2010. The address listed for the account is the same specific address in Menlo

Park, CA. The day phone number listed is 650.XXX.X721 and the evening phone is listed as

650.XXX.X273. 4 An email of jmollick@xxxxxxxx.edu (NOT VERIFIED),

mad4vikings@xxxxxx.com (VERIFIED), and mad4vikings@xx.com (VERIFIED) were listed as

additional email accounts associated with the Apple ID account “jmspirit@xxx.com 5. The

account type is Full iCloud.

         20.      The following information is a sample of what I observed during the initial review

of the media from Apple. According to the report, there were approximately 87,000 files under

the title “Media”. I reviewed many of the images and videos contained within the

account. After the initial review, at least 2000 images and videos of child pornography were

discovered and at least 800 files of child erotica were discovered. I observed the following:

         a. A video with the file name Bad Mom Perromom 01.mov. According to the

         information received from Apple, the video was located on the iCloud drive under the

         folder path of APLiC000001_APPLE_CONFIDENTIAL>167444014_300508>

         Iclouddrive>167444014>>300508>>jmspirit@xxxxxx.com-

         300508>iclouddrive>com.apple.CloudDocs> Desktop>Collection>CP Series>Bad 6




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is a public document.
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         Moms. According to the information received, the length of the video was 23

         seconds. I clicked on the file. The video depicts a person, a prepubescent child, and a

         dog with an erection. In the video, the dog’s penis was erect and it was against the

         prepubescent child’s mouth. The prepubescent child can be seen and heard crying. 7


         b. A video with the file name Ninas (35) Bad Dad Anal Beads and

         Cum.mp4. According to the information received from Apple, the video was located on

         the iCloud under the folder path

         APLiC000001_APPLE_CONFIDENTIAL>167444014_300508>

         Iclouddrive>167444014>>300508>>jmspirit@xxxxxx.com-

         300508>iclouddrive>com.apple.CloudDocs> Desktop> Desktop Temp>CP

         Series>Bad Dads. According to the information received, the length of the video was 5

         minutes 38 seconds. I clicked on the file. The first image is a title with the following:

         “A 3 yo girl and her first anal bead experience.” The video depicts a prepubescent

         girl with her vagina and anus showing. A male adult is seen inserting anal beads into the

         girl’s anus. The male is seen removing the anal beads. The male then is seen having his

         erect penis over the girl’s vagina and he ejaculates onto the girl’s vagina. 8


         c. A video with the file name IMG_0069.mp4. According to the information received

         from Apple, the video was located under the following:



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         APLiC000001_APPLE_CONFIDENTIAL>167444014_300508>

         Cloudphotolibrary>167444014>300508>jmspirit@xxxxxx-

         300508>cloudphotolibrary. According to the information received, the length of the

         video was 1 minute 59 seconds. I clicked on the file. The video depicts a prepubescent

         girl naked and lying on a bed with what appears to be a vibrator rubbing it by her

         vagina. An adult male is then seen rubbing his erect penis near her and the girl is seen

         rubbing the vibrator against her vagina and mouth. 9


         d. A video with the file name cp nina desenuda junto a escritorio.mp4. According to

         the information received from Apple, the video was located on

         APLiC000001_APPLE_CONFIDENTIAL>167444014_300508>Iclouddrive>167444

         014>300508>jmspirit@xxxxxxx.com-

         300508>iclouddrive>com.apple.CloudDocs>Desktop>Collection>CP Series>Bad

         Dads 10. According to the information received, the length of the video was 3 minutes 36

         seconds. I clicked on the file. The video depicts a prepubescent girl in a bathtub with an

         adult male and she is touching his penis. She then starts rubbing it. The girl is seen

         sticking out her tongue and licking the penis. The girl starts placing the penis in her

         mouth. The video shows both the male and girl outside the tub and the male starts

         rubbing the penis against the girl’s vagina and attempts to insert his penis. The male




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         starts jerking his penis near the girl as her legs are spread. The male then ejaculates on

         the girl.


         e. A video with the file name IMG_0178. According to the information received from

         Apple, the video was located on

         APLiC000001_APPLE_CONFIDENTIAL>167444014_300508>Cloudphotolibrary>

         167444014>300508>jmspirit@xxxxxx.com-300508>cloudphotolibrary>. According

         to the information received, the length of the video was 51 seconds. I clicked on the

         file. The video depicts a prepubescent girl naked with her vagina exposed. There is a

         white cream around her vagina and a person is seen licking her vagina. The girl’s mouth

         is full of white cream. An adult male is then seen placing his penis into her mouth. 11


         f. A video with the file name IMG_5914.mp4. According to the information received

         from Apple, the video was located on

         APLiC000001_APPLE_CONFIDENTIAL>167444014_300508>Cloudphotolibrary>

         167444014>300508>jmspirit@xxxxxxx.com-300508>cloudphotolibrary. According

         to the information received, the length of the video was 1 minute 59 seconds. I clicked

         on the file. The video depicted a prepubescent girl tied up with rope by her legs and

         hands. The girl is providing oral sex to an adult male’s erect penis and the male is seen

         with his hand rubbing the girl’s vagina. 12



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public document.

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         g. A video with the file name IMG_7266.mp4.                    According to the information received

         from Apple, the video was located

         APLiC000001_APPLE_CONFIDENTIAL>167444014_300508>Cloudphotolibrary>

         167444014>300508>jmspirit@xxxxxx.com-300508>cloudphotolibrary. According to

         the information received, the length of the video was 10 seconds                   I clicked on the

         file. The video depicts two prepubescent girls performing manual masturbation on an

         adult male’s erect penis. The adult male is smoking a cigarette. 13


         h. A video with the file name IMG_0073.mp4. According to the information received

         from Apple, the video was located

         APLiC000001_APPLE_CONFIDENTIAL>167444014_300508>Cloudphotolibrary>

         167444014>300508>jmspirit@xxxxxx.com-300508>cloudphotolibrary. The length

         of the video was 16 seconds.          I clicked on the file. The video depicts a prepubescent

         girl naked lying on her back. An adult male penis is being rubbed in front of her and the

         penis ejaculates sperm onto the girl mouth. The girl starts coughing. 14


         i. A video with the file name IMG_0055. According to the information received from

         Apple, the video was located

         APLiC000001_APPLE_CONFIDENTIAL>167444014_300508>Cloudphotolibrary>

         167444014>300508>jmspirit@xxxxxx.com-300508>cloudphotolibrary. The length



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         of the video is 20 seconds. I clicked on the file. The video depicts a prepubescent girl

         near an erect penis. The girl states her name is Brooklyn and she states she is going to be

         doing a deepthroat. The girl proceeds to give oral sex to a post-pubescent penis. 15


         j. A picture with the file name IMG_0176. According to the information received from

         Apple, the picture was located

         APLiC000001_APPLE_CONFIDENTIAL>167444014_300508>Cloudphotolibrary>

         167444014>300508>jmspirit@xxxxxx.com-300508>cloudphotolibrary. I clicked on

         the file. The picture depicts a prepubescent girl near an erect penis. There is also an

         older girl, possibly an adult, next to the prepubescent girl. 16


         21.      The videos and images identified by me as containing child sexual exploitation

material were submitted to the National Center for Missing & Exploitered Children (NCMEC)

for review. NCMEC provides services nationwide for families and professionals in the

prevention of abducted, endangered and sexually exploited children. Pursuant to its mission and

its congressional authorization, NCMEC operates the CyberTipline and the Child Victim

Identification Program to assist law enforcement in identifying victims of child pornography and

child sexual exploitation and works with law enforcement, internet service providers, electronic

payment service providers, and others, to reduce the distribution of child sexual exploitation

images over the Internet.



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       23.     The Child Identification Report (ID 140560) from NCMEC was entered on April

20, 2021. The Child Identification Report lists the specific file name(s), the corresponding

series name, and the law enforcement point of contact who is providing age verification for the

children. The submitted files were compared with NCMEC’s Child Recognition & Identification

System (CRIS). CRIS is a NCMEC database that collects and maintains forensic copies of

images of victimized children that have been verified by law enforcement. The CRIS database is

used to assist law enforcement with verification that an image or video depicted is actual child

pornography, also referred to as a “known image” or “known video.” On the images and videos

of MOLLICK’s iCloud account submitted to NCMEC for analysis, CRIS discovered files that

appear to contain child victims who have been identified by law enforcement. The number of

known image files identified totaled 384. The number of known video files identified totaled

530.


                                         CONCLUSION

         24.   Based on the above information, I believe that between August 30, 2019 and

February 24, 2021, in the Northern District of California and elsewhere, Joseph Andrew Mollick,

possessed child pornography, in violation of Title 18 U.S.C. § 2252(a)(4)(B).

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WHEREFORE, I request that a no bail arrest warrant be issued for Joseph Andrew Mollick.

       I declare under penalty of perjury that the statements above are true and correct to the

best of my knowledge and belief.

                                             /s/ Nihad Custo
                                             Nihad Custo, Special Agent
                                             Homeland Security Investigations


SWORN AND SUBSCRIBED TO BEFORE ME TELEPHONICALLY
THIS 13th DAY OF July, 2021.


____________________________________
HON. ALEX G. TSE
United States Magistrate Judge




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